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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA .

 UNITED STATES OF AMERICA

 v.                                                  Case Nos. 1:21-cr-91-1-RCL,
                                                               1:21-cr-91-2-RCL
 CRAIG MICHAEL BINGERT and
 ISAAC STEVE STURGEON,

          Defendants.




               Notes for Oral Ruling from the Bench under Rule 23(c)

         The following are the notes that the Court used when delivering its oral verdict
today:

         These are the specific findings of fact under Federal Rule of Criminal
Procedure 23 (c) that explain my verdict in this nonjury case. As to the charges, I am
adopting the instructions and definitions from the government's trial brief, with one
exception. Specifically, for purposes of Counts Four, Five, and Six, the government
must prove that the defendants "knowingly" committed the relevant acts in a
"restricted building or grounds," meaning that they knew both that they were in a
"posted, cordoned off, or otherwise restricted area," and that they knew that it was
such an area "of a building or grounds where the President or other person protected
by the Secret Service is or will be temporarily visiting." 18 U.S.C. § 1752(c)(l)(B).
When I go through the elements of Counts Four, Five, and Six and use the word
"knowingly," that is what I understand that word to mean.

      Before I start, I want to make one thing clear about all of the charges. The
defendants are not being prosecuted for engaging in protected First Amendment
activity, and I am making my decision without regard to their political beliefs, which


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I believe they hold sincerely. The defendants have a right to believe whatever they
liked about the 2020 Presidential Election, and to voice those opinions. But the First
Amendment does not give anyone a right to obstruct or impede Congress by making
it impossible for them to do their jobs safely. And it certainly does not give anyone
a right to riot, assault police officers, or enter restricted areas.

        I will now proceed to the individual charges.

      1. Count One: Obstruction of an Official Proceeding

        Count One of the Superseding Indictment charges the defendant with
obstruction of an official proceeding and aiding and abetting, in violation of 18
U.S.C. §§ 1512(c) and 2.

        That charge requires the government to have proved each of the following
elements beyond a reasonable doubt:

1. First, the defendant attempted to or did obstruct or impede an official proceeding;

2. Second, the defendant intended to obstruct or impede the official proceeding;

3. Third, the defendant acted knowingly, with awareness that the natural and
probable effect of his conduct would be to obstruct or impede the official proceeding;
and

4. Fourth, the defendant acted corruptly.

        I conclude that the government has proved each of those elements beyond a
reasonable doubt with respect to both defendants.

        Mr. Bingert and Mr. Sturgeon both obstructed and impeded the Electoral
College Certification by joining the mob on Capitol Grounds on the afternoon of
January 6, 2021. At approximately 2:46 p.m., both defendants picked up a bike rack


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that was being used as a barricade and pushed it into a line of police officers
protecting the ongoing proceeding. At least one officer-Officer Gonzalez-was
injured when that bike rack pushed him into another barricade. The defendants'
actions obstructed and impeded the proceeding by, together with the actions of
others, forcing the evacuation of Congress and the end of the certification session,
as shown by the testimony of Inspector Hawa and Mr. Jones. By joining the mob
and pushing the barricade into the officers, both defendants helped ensure that
Congress was under a sufficient security threat requiring adjournment and then an
inability to resume the official proceeding that their actions helped to disrupt.

       I find that both defendants' purpose in pushing into the police line was to
ensure that the proceeding was in fact obstructed or impeded. I do not credit Mr.
Bingert's testimony to the contrary. Among other evidence, GX 111 lA demonstrates
that Mr. Bingert understood his purpose on that day to be stopping an election result
that he viewed as fraudulent. Mr. Bingert's text messages, marked as GX 802W,
show him following news of the certification proceedings contemporaneously, and
a video marked as GX 205A shows Mr. Bingert chanting along with the crowd, "Let
us in, let us in." Mr. Bingert admitted on the stand that he indeed joined that chant.
Taken together, the evidence demonstrates that Mr. Bingert wanted into the Capitol
so that he could stop what was happening inside. The evidence of Mr. Sturgeon's
purpose is even more overwhelming. Just to name a few relevant exhibits: Messages
found on Mr. Sturgeon's social media accounts such as GX 1001D show that Mr.
Sturgeon understood Vice President Pence's compliance with the certification
proceedings was what prompted the mob, which he joined, to storm the Capitol.
Other messages, like GX 1001G, show that Mr. Sturgeon viewed his actions on
January 6 as part of a "last stand." The fact that some of those messages were sent



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 shortly after January 6, rather than on or before that date, does not negate their
probative force as evidence of his intent at the time.

       Not everyone on Capitol Grounds had this kind of purpose. But the evidence
demonstrates that Mr. Bingert and Mr. Sturgeon did. And not everyone used
violence to attempt to break the police lines that were protecting the Capitol. But
Mr. Bingert and Mr. Sturgeon did.

       When Mr. Bingert and Mr. Sturgeon took these knowing actions, they were
certainly aware of the official proceeding, or it was reasonably foreseeable to them.
Several pictures and messages found on Mr. Bingert's phone, including GX 802K,
802W, and 802Y, show that in the days leading up to January 6, 2021, and even on
that day itself, he was following the news surrounding the Electoral College
Certification. Mr. Bingert admitted on the stand that he was present for President
Trump's speech at the Ellipse and that he heard at least some of President Trump's
statements concerning what he wanted to happen with the certification. I do not
credit his statements that he conveniently did not hear many of the references to Vice
President Pence's role in the certification. And Mr. Bingert does not need to
understand every particular of the certification process to have been aware of it and
to have intended to obstruct it. The video marked DX 15 shows that Mr. Sturgeon
was at the same rally at the Ellipse, and again, messages such as GX 1001D show
that Mr. Sturgeon understood Vice President Pence's compliance with the
certification proceedings was what prompted the mob, which he joined, to storm the
Capitol. Furthermore, GX 1002U shows that Mr. Sturgeon knew that around 2:00
p.m. on January 6, Vice President Pence refused to reject the electoral votes.

      Furthermore, I find that Mr. Bingert and Mr. Sturgeon both had the necessary
mental state to meet the "corruptly" requirement. First, by pushing into the police
line, Mr. Bingert and Mr. Sturgeon used an unlawful means, specifically the
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 independently felonious means of assaulting law enforcement, and acted with an
unlawful purpose when doing so. And intentionally pushing a barrier into a line of
police officers almost definitionally involves consciousness of wrongdoing.
Furthermore, Mr. Bingert can be seen in several videos actively cheering for rioters
who are fighting with police. I do not credit Mr. Bingert' s testimony that he was
simply making that noise because he was nervous, not only because it clearly sounds
like a cheer, but also because he admitted on the stand that in one of the videos in
which he was making the same sound, he could not recall if he was nervous or
cheering. As for Mr. Sturgeon, he sent numerous messages in the immediate
aftermath of January 6 speaking of the need to start a "revolution" and the necessity
of fighting and committing crimes to do so. Simply put, there is no doubt in my mind
after seeing the evidence that both defendants knew that they were part of something
unlawful.

       I will also address Mr. Sturgeon's argument that ifhe took President Trump's
speech to heart, he could not have acted corruptly because he could not have acted
with consciousness of wrongdoing. Belief that your actions are ultimately serving a
greater good does not negate consciousness of wrongdoing. For purposes of Section
1512, the phrase "consciousness of wrongdoing" comes from Arthur Andersen LLP v.
United States, 544 U.S. 696 (2005). The Supreme Court used that phrase in the context of
explaining why it was error for the district court to instruct the jury that the defendant could
be guilty of corruptly obstructing an official proceeding "even if [it] honestly and sincerely
believed that its conduct was lawful." Id. at 706. So the point isn't that the defendant needs
to understand that what he's doing is morally wrong; it's that he needs to understand that
what he's doing is unlawful. Even if the defendants sincerely believed-which it
appears they did-that the election was fraudulent and President Trump was the
rightful winner, they still must have known it was unlawful to vindicate that
perceived injustice by engaging in mob violence to obstruct Congress. And that is

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 true even if the defendants believed they had President Trump's blessing. President
 Trump did not call on his supporters at the rally to engage in violence; he told them
 to go the Capitol peacefully. But even if the defendants took his words to authorize
 violence, we live in a constitutional democracy, not a dictatorship, and no reasonable
citizen of this country-much less one as politically engaged as these two
defendants--{;ould believe that the President has the power to authorize a literal
assault on a coequal branch of government.

       Finally, I will address the unlawful benefit, given Judge Walker's concurring
opinion in United States v. Fischer. On that point, I find that Mr. Bingert and Mr.
Sturgeon took these actions in order to provide an unlawful benefit to their preferred
presidential candidate, then-President Trump-by disrupting the Electoral College
Certification that would have led to President Trump's loss of the presidency.

       For these reasons, I find defendant Craig Michael Bingert GUILTY of Count
One; and I find defendant Isaac Steve Sturgeon GUILTY of Count One.

   2. Count Two: Assaulting, Resisting, or Impeding Certain Officers

       Count Two of the Superseding Indictment charges the defendants with
forcibly assaulting, resisting, or impeding an officer or employee of the United States
who was then engaged in the performance of his official duties or any person
assisting an officer or employee of the United States who is engaged in the
performance of his official duties, where such acts involve physical contact with the
victim or the intent to commit another felony, in violation of 18 U.S.C. § 11 l(a)(l).

      That charge requires the government to have proved each of the following
elements beyond a reasonable doubt:

      1. First, the defendant assaulted, resisted, opposed, impeded, intimidated, or
interfered with an officer of the Metropolitan Police Department;
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       2. Second, the defendant did such acts forcibly;

       3. Third, the defendant did such acts voluntarily and intentionally;

       4. Fourth, the person assaulted, resisted, opposed, impeded, intimidated, or
interfered with was assisting officers of the United States who were then engaged in
the performance of their official duties; and

       5. Fifth, the defendant made physical contact with that person or acted with
the intent to commit another felony-in this case, obstruction of an official
proceeding (Count One) or civil disorder (Count Three).

       I conclude that the government has proved each of those elements beyond a
reasonable doubt with respect to both defendants.

       When Mr. Bingert and Mr. Sturgeon pushed the barricade into the line of
MPD officers, they forcibly assaulted, opposed, impeded, and intimidated those
officers.

       It is clear from the video evidence, specifically GX 204A, that both Mr.
Bingert and Mr. Sturgeon did so voluntarily and intentionally. I reject the argument
by counsel for both defendants that they were simply acting in self-defense. In the
video, Mr. Johnatakis can clearly be heard shouting into a megaphone, easily within
earshot of both defendants, things like "Pack it in" and "One foot," and then counting
down. Mr. Bingert actually steps forward, closer to the bike rack, when Mr.
J ohnatakis starts shouting those things, and both defendants remain at the top of the
stairs throughout, until the middle of the struggle with the officers. Mr. Sturgeon
even responds to Mr. Johnatakis's instructions by saying "Push," just before both
defendants put their hands on the bike rack and begin pushing it forward. At no point
does either of them take a defensive posture or attempt to step back. Instead, both


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defendants can clearly be seen putting the weight of their bodies into pushing the
barricade forward.

       Mr. Bingert can also be heard cheering in the video. Again, I do not credit his
testimony that he was simply making that noise because he was nervous. I also do
not credit his suggestion that he was simply trying to protect himself, much less the
unbelievable notion that he was trying to protect an "elderly woman" behind him.
He would not be cheering ifhe were simply trying to protect himself, and the video
shows him pushing his body forward, not leaning back in a defensive posture. As
for the mystery lady Mr. Bingert says he was trying to shield, he never managed to
point her out in the video.

       The MPD officers that both defendants assaulted were assisting U.S. Capitol
Police Officers engaged in the performance of their official duties, protecting the
Capitol Grounds and Capitol Buildings.

       Finally, Mr. Bingert and Mr. Sturgeon made physical contact with the officers
by physically pushing the barricade into them. They also took this action with the
intent to both obstruct the Electoral College Certification (for the reasons I explained
earlier) and to commit Civil Disorder (for the reasons I am about to explain).

       For these reasons, I find defendant Craig Michael Bingert GUILTY of Count
Two; and I find defendant Isaac Steve Sturgeon GUILTY of Count Two.

   3. Count Three: Civil Disorder

      Count Three of the Second Superseding Indictment charges the defendants
with civil disorder, in violation of 18 U.S.C. § 23 l(a)(3).

      That charge requires the government to have proved each of the following
elements beyond a reasonable doubt:


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        1. First, the defendant knowingly committed an act or attempted to commit an
act with the intended purpose of obstructing, impeding, or interfering with one or
more law enforcement officers;

       2. Second, at the time of the defendant's actual or attempted act, the law
enforcement officer or officers were engaged in the lawful performance of their
official duties incident to and during a civil disorder; and

       3. Third, the civil disorder in any way or degree obstructed, delayed, or
adversely affected either commerce or the movement of any article or commodity in
commerce or the conduct or performance of any federally protected function.

       I conclude that the government has proved each of those elements beyond a
reasonable doubt with respect to both defendants.

       The government proved the first element by establishing that Mr. Bingert and
Mr. Sturgeon knowingly pushed the bike rack into the line of law enforcement
officers protecting the Capitol. Both defendants' intent when doing so was to
obstruct, impede, or interfere with the law enforcement officers guarding the Capitol,
as I explained earlier.

       Second, the evidence shows that the mob at the Capitol constituted a civil
disorder to which the law enforcement officers were lawfully attempting to defend
the Capitol against. That mob of more than three people created a public disturbance
involving acts of violence by causing an immediate danger of injury to those officers,
to the property on Capitol Grounds and inside the Capitol Buildings, as well as
actually resulting in injury to officers.

      And third, the civil disorder obstructed, delayed, or adversely affected both
commerce, as demonstrated by the Safeway records, as well as a federally protected
function, as demonstrated overwhelmingly by the testimony of Inspector Hawa, Mr.
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 Jones, and Captain Ortega concemmg the disruption of the Electoral College
 Certification and the efforts of law enforcement officers to protect the Capitol and
the Members of Congress within it who were performing that function.

       For these reasons, I find defendant Craig Michael Bingert GUILTY of Count
Three; and I find defendant Isaac Steve Sturgeon GUILTY of Count Three.

    4. Count Four: Entering or Remaining in a RestrictedBuilding or Grounds

       Count Four of the Superseding Indictment charges the defendants with
entering or remaining in a restricted building or grounds, in violation of 18 U.S.C.
§ 1752(a)(l).

       That charge requires the government to have proved each of the following
elements beyond a reasonable doubt:

       1. First, that the defendant entered or remained in a restricted building or
grounds without lawful authority to do so; and

       2. Second, that the defendant did so knowingly.

       I conclude that the government has proved each of those elements beyond a
reasonable doubt with respect to both defendants.

       The testimony of Captain Ortega and Inspector Hawa, along with other
evidence, established that, in preparation for the Electoral College Certification, the
United States Secret Service and United States Capitol Police adopted a restricted
area around the U.S. Capitol Grounds that was closed to members of the public. That
perimeter was delineated with bike racks and snow fencing, as well as signage
indicating that the area was closed and additional layers of barricades within the
restricted area. That perimeter was established because the Vice President was
temporarily visiting the Capitol.

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       For the same reasons explained above with respect to both defendants'
knowledge of the Electoral College Certification, including their presence at
President Trump's speech, I find that both defendants knew that Vice President
Pence, a Secret Service protectee, was visiting, or was going to visit, the Capitol
grounds. The evidence that both defendants knew that they were in a restricted area
of the Capitol grounds and lacked lawful authority to be there is overwhelming. Just
to name a few relevant exhibits: GX 204A shows both defendants pushing a
barricade into a line of police officers and attempting to enter an area that that line
of officers was blocking off. GX 2 l 6A. l shows that one of the bike racks in that
very area bore an "area closed" sign. GX 804M and GX 804N, both videos taken
from Mr. Sturgeon's phone with Mr. Bingert in the shot, show members of the mob
running from tear gas and police carrying riot shields.

      I also find that both defendants knew that they lacked lawful authority to be
there. The government was not required, as the defendants have suggested, to prove
that a police officer explicitly told them to leave any particular area. Simply put, the
defendants could not possibly have believed that they had the right to stand in the
middle of a riot, with tear gas and punches flying, and officers trying and failing to
hold a line against the crowd, until they were asked to leave.

      The evidence of the signs and barriers that Mr. Bingert and Mr. Sturgeon must
have seen, and the signs of law enforcement struggle, establish that Mr. Bingert and
Mr. Sturgeon knowingly entered or remained within the restricted area on the
Capitol Grounds. They knew the area was cordoned off, they knew it was restricted,
they knew they lacked lawful authority to be there, yet they entered and remained
anyway.

      For these reasons, I find defendant Craig Michael Bingert GUILTY of Count
Four; and I find defendant Isaac Steve Sturgeon GUILTY of Count Four.
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    5. Count Five: Disorderly or Disruptive Conduct in a Restricted Building
       or Grounds

       Count Five of the Superseding Indictment charges the defendants with
disorderly or disruptive conduct in a restricted building or grounds, in violation of
 18 U.S.C. § 1752(a)(2).

       That charge requires the government to have proved each of the following
elements beyond a reasonable doubt:

       1. First, that the defendant engaged in disorderly or disruptive conduct in, or
in proximity to, any restricted building or grounds;

       2. Second, that the defendant did so knowingly, and with the intent to impede
or disrupt the orderly conduct of Government business or official functions; and

       3. Third, that the defendant's conduct occurred when, or so that, his conduct
in fact impeded or disrupted the orderly conduct of Government business or official
functions.

      I conclude that the government has proved each of those elements beyond a
reasonable doubt with respect to both defendants.

      Mr. Bingert's and Mr. Sturgeon's behavior as part of the mob on the Capitol
Grounds and their pushing of the barricade into the police line constituted disruptive
and disorderly conduct given that they disturbed the public peace and the normal
peaceful condition of the Capitol grounds. They also actually impeded the ability
for law enforcement to regain control of the area and otherwise disrupted the efforts
of the officers. And for substantially the same reasons as I stated earlier for Counts
One and Four, I find that Mr. Bingert and Mr. Sturgeon took these actions knowingly



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 and with the intent to impede and disrupt the orderly conduct of Government
business and official functions.

       For these reasons, I find defendant Craig Michael Bingert GUILTY of Count
Five; and I find defendant Isaac Steve Sturgeon GIDL TY of Count Five.

    6. Count Six: Engaging in Physical Violence in a Restricted Building or
       Grounds

       Count Six of the Superseding Indictment charges the defendant with engaging
in physical violence in a restricted building or grounds, in violation of 18 U.S.C.
§ 1752(a)(4).

       That requires the government to have proved each of the following elements
beyond a reasonable doubt:

       1. First, that the defendant engaged in any act of physical violence against any
person or property in any restricted building or grounds; and

       2. Second, that the defendant did so knowingly.

       I conclude that the government has proved each of those elements beyond a
reasonable doubt with respect to both defendants.

       For both Mr. Bingert and Mr. Sturgeon, the act of physical violence was their
pushing of the barricade into the line of law enforcement officers. That action was
taken within the restricted grounds of the Capitol, as I previously explained. Finally,
both Mr. Bingert and Mr. Sturgeon took that action knowingly, for the same reasons
I explained earlier.

      For these reasons, I find defendant Craig Michael Bingert GUILTY of Count
Six; and I find defendant Isaac Steve Sturgeon GUILTY of Count Six.


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    8. Count Eight: Act of Physical Violence in the United States Capitol
       Grounds or Buildings

       Count Eight of the Superseding Indictment charges the defendants with an act
of physical violence in the United States Capitol Grounds or Buildi;ngs, in violation
of 40 U.S.C. § 5104(e)(2)(F).

       That charge requires the government to have proved each of the following
elements beyond a reasonable doubt:

       1. First, that the defendant engaged in an act of physical violence in the Capitol
Grounds or any of the Capitol Buildings; and

       2. Second, that the defendant did so willfully and knowingly.

      I conclude that the government has proved each of those elements beyond a
reasonable doubt with respect to both defendants.

      As I just explained, both Mr. Bingert and Mr. Sturgeon engaged in an act of
physical violence on Capitol Grounds when they pushed the barricade into the line
of officers. The evidence also shows that they took this action willfully and
knowingly, in that they acted with the intent to disregard the law and attack the law
enforcement officers guarding the Capitol. Mr. Bingert and Mr. Sturgeon both
knowingly picked up the bike rack that was in front of the line of officers protecting
the United States Capitol while those officers faced down a mob, and pushed that
barricade into those officers. Even without the accompanying communications
between Mr. Sturgeon and former co-defendant Taylor James Johnatakis, and Mr.
Bingert's shouts of "woo!", those circumstances alone demonstrate willfulness
beyond a reasonable doubt. But those communications make the defendants' state
of mind even clearer.


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                                    *     *      *

      In sum, I find that the government has proved beyond a reasonable doubt each
charge brought against each defendant in this trial.

      Therefore, I ADUJUDGE AND DECLARE that defendant Craig Michael
Bingert is GUILTY of the following counts in the Superseding Indictment:

      Count One: Guilty

      Count Two: Guilty

      Count Three: Guilty

      Count Four: Guilty

      Count Five: Guilty

      Count Six: Guilty

      Count Eight: Guilty

      And I ADUJUDGE AND DECLARE that defendant Isaac Steve Sturgeon is
GUILTY of the following counts in the Superseding Indictment:

      Count One: Guilty

      Count Two: Guilty

      Count Three: Guilty

      Count Four: Guilty

      Count Five: Guilty

     Count Six: Guilty

     Count Eight: Guilty

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Date: May :1!d, 2023
                                              Royce C. Lamberth
                                              United States District Judge




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